                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v.                                                 )       Criminal No. 3:12-00170
                                                   )       Judge Trauger
[3] ELICIO FUERTE-BARRIGA                          )
                                                   )

                                          ORDER

       The government’s Motion to Strike Amended Motion to Dismiss (Docket No. 130) is

GRANTED, as the Amended Motion to Dismiss (Docket No. 126) does not comply with

LCrR 12.01.

       Should the defendant wish to re-file this motion in compliance with LCrR 12.01, he

should modify his allegations to take into account the discovery landscape alleged by him and

vigorously disputed by the government in its Motion to Strike.

       It is so ORDERED.

       ENTER this 20th day of February 2014.



                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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